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     NITOJ P. SINGH (SBN: 265005)
1
     nsingh@dhillonlaw.com
2    ANTHONY J. FUSARO, JR. (SBN: 345017)
     afusaro@dhillonlaw.com
3    DHILLON LAW GROUP INC.
     177 Post Street, Suite 700
4
     San Francisco, California 94108
5    Tel: (415) 433-1700
     Fax: (415) 520-6593
6
7    Attorneys for Plaintiff
     National Specialty Pharmacy, LLC
8
9                                      UNITED STATES DISTRICT COURT
10
                                      NORTHERN DISTRICT OF CALIFORNIA
11
12     NATIONAL SPECIALTY PHARMACY,                         Case Number: 5:23-cv-04357-PCP
13     LLC
                                                            NOTICE OF MOTION AND
14                                                          ADMINISTRATIVE MOTION PURSUANT
                         Plaintiff,                         TO N.D. CAL. CIV. L.R. 7-11 TO CONTINUE
15                                                          TRIAL AND ALL TRIAL-RELATED
           vs.
16                                                          DEADLINES; MEMORANDUM OF POINTS
       SAMEER PADHYE, an individual;                        AND AUTHORITIES
17     BENJAMIN D. BROWN, an individual; and
18     DOES 1 to 49, inclusive,

19                       Defendants.
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     Motion to Continue Trial and Trial-Related Deadlines
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1            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2            PLEASE TAKE NOTICE THAT, pursuant to Rule 7-11 of the Civil Local Rules of the Northern
3    District of California, Plaintiff National Specialty Pharmacy, LLC hereby moves this Court for an order
4    continuing the trial and all trial-related deadlines in this Action. This Administrative Motion is made on
5    the grounds that, pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure, there exists good
6    cause necessitating the postponement of trial and all related pretrial deadlines by 21 days, or to a date as
7    soon thereafter as the Court’s calendar permits.
8            This Administrative Motion is based on this Notice, the accompanying Memorandum of Points
9    and Authorities, and the supporting Declaration of Nitoj P. Singh; as well as all pleadings, papers, and
10   other documentary materials in the Court’s file for this action, those matters of which this Court may or
11   must take judicial notice, and such other matters as the Court may consider.
12   Date: November 12, 2024                                DHILLON LAW GROUP INC.
13
                                                            By: /s/ Nitoj P. Singh
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                                                               Nitoj P. Singh (SBN: 265005)
15                                                             Anthony J. Fusaro, Jr. (SBN: 345017)
                                                               Dhillon Law Group Inc.
16                                                             177 Post Street, Suite 700
                                                               San Francisco, CA 94108
17
                                                               t. 415.433.1700
18                                                             nsingh@dhillonlaw.com
                                                               afusaro@dhillonlaw.com
19
20                                                             Attorneys for Plaintiff
                                                               National Specialty Pharmacy, LLC
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1                              MEMORANDUM OF POINTS AND AUTHORITIES
2            I.       INTRODUCTION
3            This case is scheduled for trial on May 12, 2025, with the close of fact discovery on November
4    15, 2024. Plaintiff National Specialty Pharmacy, LLC (“NSP”) seeks a brief continuance of the trial date
5    and related deadlines (including the close of fact discovery) because: 1) discovery disputes have arisen
6    that will make it impossible for the parties to complete discovery by the current fact discovery deadline;
7    and 2) counsel for NSP has a trial date conflict. Accordingly, NSP seeks a brief, 21-day continuance of
8    the trial date, and related deadlines.
9            II.      RELEVANT BACKGROUND
10           NSP initiated this Action on August 24, 2023 (Dkt. No. 1). Due to its original counsel of record
11   closing his business on account of health issues, the Court granted a stay of proceedings from January
12   8, 2024 to February 7, 2024 (Dkt. No. 62). NSP’s current counsel of record substitute in on January 29,
13   2024 (Dkt. No. 66). The operative complaint, the Second Amended Complaint, was filed on Juner 3,
14   2024 (Dkt. No. 83).
15           On July 2, 2024, this Court issued a Case Management Order (Dkt. No. 90) that set the following
16   schedule for this Action:
17                    Deadlines
18                            •        Amendments and Joinder June 3, 2024
19                            •        Fact Discovery Cutoff November 15, 2024
20                            •        Designation of Opening Experts with Reports January 20, 2025
21                            •        Designation of Rebuttal Experts with Reports February 10, 2025
22                            •        Expert Discovery Cutoff March 7, 2025
23                            •        Completion of ADR April 7, 2025
24                            •        Filing of Dispositive/Daubert Motion(s) April 7, 2025
25                    Trial Schedule
26                            •        Joint Pretrial Conference April 8, 2025
27                            •        Jury Trial (4 days) May 12, 2025
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1                 A. Discovery
2              The parties acted diligently to move the case forward thereafter. Defendant Sameer Padhye
3    (“Padhye”) served his first set of discovery requests on July 3, 2024; second set of discovery requests
4    on October 15, 2024; and Rule 30(b)(6) deposition notice as to NSP and a third-party subpoena on
5    November 4, 2024. (Declaration of Nitoj P. Singh in Support (Singh Decl.”), ¶2.) NSP served discovery
6    requests on Padhye on August 22, 2024; and served party and third-party deposition notices on October
7    22, 2024 and October 23, 2024. (Id., ¶3.)
8              While NSP responded Padhye’s first set of discovery requests (responses to the second set are
9    not yet due), and took the deposition of Defendant Benjamin D. Brown (“Brown”), Padhye has now
10   sought to stymie discovery. (Id., ¶4.) On Friday, November 1, 2024, Padhye’s counsel stated in an email
11   that NSP failed to properly identify its trade secrets, that discovery could not move forward (despite
12   Padhye already serving two sets of discovery requests), and that he intended seek a protective order
13   early in the week of November 3, 2024 (counsel has not yet provided to NSP its portion of a joint letter
14   required by Magistrate Judge Susan Van Keulen’s Standing Order for discovery disputes). (Id., Ex. 1.)
15   In an effort to move this case forward, NSP provided an amended trade secret identification on
16   November 4, 2024, but Padhye still contends that it is insufficient for discovery to move forward. (Id.,
17   Ex. 2.)
18             As Padhye failed to timely move forward with his efforts towards a protective order, and facing
19   the impending fact discovery cutoff, NSP had no choice but to continue with discovery. It sought to take
20   the depositions of third parties Coligomed, Inc. on November 5, 2024 (Coligomed did not timely object,
21   nor appear, the parties are meeting and conferring); Enlil, Inc. on November 6, 2024 (Enlil objected and
22   did not appear, the parties are meeting and conferring); Arista Networks, Inc. on November 7, 2024
23   (Arista objected and did not appear, the parties are meeting and conferring), and party deposition of
24   Brown on November 8, 2024 (Brown appeared and the deposition was completed). (Id., ¶7.)
25             NSP had also noticed Padhye’s deposition for November 13, 2024; however, on November 8,
26   2024, Padhye’s counsel stated that Padhye would be in India for the week of November 10, 2024, and
27   would not be appearing for his deposition. (Id., ¶8.)
28             After first promising his portion of Magistrate Judge Van Keulen’s required discovery letter




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1    early the week of November 3, 2024, Padhye’s counsel expressed that he would be sending Padhye’s
2    portion of his discovery letter to NSP by November 11, 2024. (Id., ¶9, Ex. 3.) As of the time this Motion
3    was filed on November 12, 2024, NSP still has not received the long-promised discovery letter. (Id.)
4            Given the current state of discovery, including third party objections to subpoenas that are the
5    subject of ongoing meet and confer efforts, and Padhye’s unwillingness to respond to written discovery
6    or appear for a deposition, good cause exists for a continuance of the fact discovery cutoff so that the
7    parties and third parties may resolve their discovery disputes and complete discovery.
8                   B. Trial Date
9            On February 29, 2024, NSP, Padhye, and other then-parties to this Action, submitted a Joint
10   Case Management Conference Statement (Dkt. No. 79) requesting a June 2025 trial date. A June 2025
11   trial date would be beneficial to NSP’s counsel as it currently has a trial scheduled in the Superior Court
12   of California for Santa Clara County from April 28 to May 16, 2024. (Singh Decl., ¶10.) The trial is for
13   an action that was initiated in 2018, and finding an alternative trial date will be difficult given the length
14   of that trial and because the parties have to seek Court approval for a further waiver of California’s five-
15   year rule to bring an action to trial under California Code Civ. Proc. § 583.310. (Id.)
16                  C. Meet and Confer Efforts
17           NSP first discussed a potential two-week continuation of the trial date with Padhye and Brown
18   on September 10, 2024. (Id., Ex. 4.) At the time both Padhye and Brown confirmed that they were
19   amenable to continuation of the trial date. (Id.)
20           However, after the current discovery disputes, Padhye’s counsel has refused to engage in further
21   meaningful meet and confer efforts, including refusing a scheduled November 8, 2024 telephonic meet
22   and confer call. (Id., Ex. 3.) Counsel’s position is that there is nothing to discuss until the Court rules on
23   the pending discovery disputes. (Id.)
24           III.      BASIS FOR MOTION
25           Pursuant to Federal Rule of Civil Procedure (“FRCP”) 16(b)(4), a scheduling order may only be
26   modified “for good cause and with the judge’s consent.” FRCP 16(b)(4). Generally, good cause will be
27   found where the current schedule cannot be met “despite the diligence of the party seeking the
28   extension.” See Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (citations and internal




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1    quotation marks omitted).
2             Good cause exists here as despite NSP’s diligence, it cannot complete discovery required to
3    prosecute its claims. Additional good cause exists given NSP’s counsel trial date conflicts with another
4    long-existing matter pending in the Superior Court of California for Santa Clara County.
5             For these reasons, there is good cause to postpone the trial slightly in order to allow the parties
6    to complete discovery and avoid trial conflicts. If the 21-day postponement is granted, NSP believes that
7    the case schedule going forward should be as follows:
8                     Deadlines
9                             •        Fact Discovery Cutoff December 13, 2024
10                            •        Designation of Opening Experts with Reports February 10, 2025
11                            •        Designation of Rebuttal Experts with Reports March 3, 2025
12                            •        Expert Discovery Cutoff March 28, 2025
13                            •        Completion of Further ADR April 21, 2025
14                            •        Filing of Dispositive/Daubert Motion(s) April 21, 2025
15                    Trial Schedule
16                            •        Joint Pretrial Conference May 20, 2025
17                            •        Jury Trial (4 days) June 2, 2025
18            With respect to scheduling, NSP notes that its counsel has another trial scheduled from April 14
19   to 18, 2025, before the Superior Court of California for Los Angeles County. (Singh Decl., ¶12.)
20            NSP has not previously requested a continuation of the trial date, or of the fact discovery cutoff.
21   (Id., ¶13.)
22            IV.     CONCLUSION
23            NSP appreciates how carefully the Court manages its calendar, and how far out trials may be set.
24   However, NSP cannot properly litigate its case without the requested continuation to complete discovery
25   and accommodate trial conflicts. Accordingly, NSP respectfully requests that the Motion be granted as
26   set forth above.
27   ///
28   ///




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1    Date: November 12, 2024                                DHILLON LAW GROUP INC.
                                                            By: /s/ Nitoj P. Singh
2
                                                               Nitoj P. Singh (SBN: 265005)
3                                                              Anthony J. Fusaro, Jr. (SBN: 345017)
                                                               Dhillon Law Group Inc.
4                                                              177 Post Street, Suite 700
                                                               San Francisco, CA 94108
5
                                                               t. 415.433.1700
6                                                              nsingh@dhillonlaw.com
                                                               afusaro@dhillonlaw.com
7
8                                                              Attorneys for Plaintiff
                                                               National Specialty Pharmacy, LLC
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